     Case 6:15-cv-00002-RWS-JDL Document 74 Filed 12/02/15 Page 1 of 6 PageID #: 692



                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                         TYLER DIVISION

GLOBAL GROUND AUTOMATION, INC.                            §
                                                          §
Plaintiff,                                                §
                                                          §
v.                                                        §     No. 6:15-cv-002 RWS-JDL
                                                          §
ORISSA HOLDINGS, LLC, GROUND                              §      JURY DEMANDED
MANAGEMENT HOLDINGS, LLC,                                 §
Individually and d/b/a GROUNSPAN, and                     §
GROUNDWIDGETS                                             §
Defendants.
                              ORDER ADOPTING REPORT AND
                          RECOMMENDATION OF MAGISTRATE JUDGE

             The above entitled and numbered civil action was referred to United States Magistrate

      Judge John D. Love pursuant to 28 U.S.C. § 636. The Report and Recommendation of the

      Magistrate Judge (“R&R”), which contains his proposed findings of fact and recommendation

      for the disposition of such action, has been presented for consideration (Doc. No. 62). The

      Magistrate Judge recommended denying contempt, finding that the products were not more than

      colorably different, but that the Plaintiff failed to discharge its burden in showing the newly

      accused product actually infringes. Id. Defendants Orissa Holdings LLC (d/b/a GroundSpan),

      Ground Management Holdings LLC (d/b/a GroundWidgets) (collectively “Defendants”) filed

      objections to the R&R with respect to the Magistrate Judge’s finding that the products were not

      more than colorably different (Doc. No. 71), to which Plaintiff Global Ground Automation, Inc.

      (“GGA”) filed a response (Doc. No. 72). Plaintiff GGA also filed objections to the R&R, with

      respect to the Magistrate Judge’s infringement finding (Doc. No. 70), to which Defendants filed

      a response (Doc. No. 73). The Court will take up each party’s objections in turn.




                                                      1
Case 6:15-cv-00002-RWS-JDL Document 74 Filed 12/02/15 Page 2 of 6 PageID #: 693



          I.    Colorable Differences Analysis

        Defendants generally object to the Magistrate Judge’s findings regarding colorable

 differences because (1) the Report did not include an analysis of all of the contended and proved

 features of the prior product to the newly accused product; and (2) the evidence relied on by the

 Magistrate Judge was conclusory or inconsistent. (Doc. No. 71, at 2-8.)

        To prove that there were not more than colorable differences between the GroundRez

 system previously found to infringe and the newly accused GroundSpan system, GGA’s expert

 “analyzed the source code of the GroundRez/GroundSpan system, and found that it showed a

 single, continuously-developed product with no significant changes to any of the features found

 to infringe.” (Doc. No. 60, at 10.) Defendants object to this approach because infringement of

 the GroundRez system was previously found by default judgment and no source code was relied

 on in proving infringement. (Doc. No. 71, at 2.) Specifically, Defendants argue that this method

 would contravene the TiVo Standard, referring to the statement in TiVo that “one should focus on

 those elements of the adjudged infringing product that the patentee previously contended, and

 proved, satisfy specific limitations of the asserted claims.” (Doc. No. 71, at 2); TiVo Inc. v.

 EchoStar Corp., 646 F.3d 869, 882 (Fed. Cir. 2011).

        Although not considered in the R&R, the Federal Circuit has since made clear that its

 statement in TiVo is not a strict limitation to those elements previously proven or adjudged to

 have infringed, particularly in the case of a default judgment. See Merial Ltd. V. Cipla Ltd., 681

 F.3d 1283, 1300 (Fed. Cir. 2012) (“But when, as here, infringement has been established through

 default, the judgment is no less binding or authoritative simply because comprehensive and

 painstaking factual analyses regarding every claim limitation may have been unnecessary or

 impractical at the time of the initial decision.”) Thus, because it was previously adjudged to



                                                 2
Case 6:15-cv-00002-RWS-JDL Document 74 Filed 12/02/15 Page 3 of 6 PageID #: 694



 infringe by default, the GroundRez product indisputably meets each limitation of the asserted

 claims of the ’706 Patent. Where Plaintiff’s expert did a thorough comparison of the source code

 for each product and found no significant differences, and specifically found that the particular

 APIs previously identified as infringing the claims of the ’706 Patent by the GroundRez system

 are present and in active use in the new GroundSpan system, the Court cannot find that such an

 approach is improper under the TiVo standard. Regardless, the Court finds no error by the

 Magistrate Judge in relying on testimony provided at the hearing to further support the

 conclusion that there are not more than colorable differences between the GroundRez and

 GroundSpan systems.

        In the R&R, the Magistrate Judge cites testimony from Defendants’ corporate witness,

 Mr. Patel, that no changes were made to the system after the 2011 injunction issued, and that

 changes made were only to provide the appearance that the system was different. (Doc. No. 62,

 at 10.) Defendants object to the Magistrate Judge’s finding that this testimony was strong

 circumstantial evidence that the infringing features of the systems were the same. (Doc. No. 71,

 at 7-8.)   The Court agrees with the Magistrate Judge that Mr. Patel’s testimony provides

 circumstantial evidence that the infringing features are the same because Mr. Patel

 unambiguously testified that the only changes made were to the “terminology” and “the screens”

 for appearance purposes, and no other changes were made to the code. Tr. at 64:8-65:1; 69:18-

 25; 70:1-7.

        Defendants also object to the Magistrate Judge’s reliance on the testimony of Plaintiff’s

 expert because the testimony was conclusory and inconsistent. (Doc. No. 71, at 3.) Specifically,

 Defendants challenge Dr. Nettles’ identification of a switch in the GroundSpan system because

 he acknowledged he did not pinpoint where exactly “the switch” was located in the code. (Doc.



                                                3
Case 6:15-cv-00002-RWS-JDL Document 74 Filed 12/02/15 Page 4 of 6 PageID #: 695



 No. 71, at 3.) Although Dr. Nettles did not pinpoint “exactly the thing” that acts as a switch, the

 Magistrate Judge did not err in relying on this testimony because Dr. Nettles testified that the

 server software itself acts as the claimed switch and ultimately found that there were no

 significant differences between the infringing GroundRez software and the newly accused

 GroundSpan software. Accordingly, the Court finds that the Magistrate Judge did not err in

 concluding there were not more than colorable differences between the GroundRez system and

 the newly accused GroundSpan system.

          II.   Infringement Analysis

         Plaintiff GGA objects to the Magistrate Judge’s finding that GGA has failed to present

 clear and convincing evidence that Defendants’ GroundSpan system infringes the asserted claims

 of the ’706 Patent. (Doc. No. 70, at 1.) Specifically, GGA objects that the Magistrate Judge

 erred in requiring GGA to prove infringement on a limitation-by-limitation basis because GGA

 proved infringement through res judicata. Id. As a preliminary matter, GGA does not dispute

 that TiVo clearly sets forth a two-prong test for proving contempt. Nor does GGA dispute that it

 did not provide a limitation-by-limitation infringement analysis for the GroundSpan system.

 Rather, GGA contends that the second prong of the TiVo test, which requires proving the newly

 accused product actually infringes the asserted patent, was met through res judicata. (Doc. No.

 70, at 2.)

         In support of its contention that the second prong of TiVo can be met through res

 judicata, GGA cites to a case not previously presented to the Magistrate Judge, Merial Ltd. v.

 Cipla Ltd. 681 F.3d 1283. (Doc. No. 70, at 3.) Specifically, GGA contends that the “Federal

 Circuit has found contempt under TiVo when the patent owner proved that the current product

 was essentially the same as the product previously found to infringe, but did not directly compare



                                                 4
Case 6:15-cv-00002-RWS-JDL Document 74 Filed 12/02/15 Page 5 of 6 PageID #: 696



 the current product to the claims.” Id. However, GGA mischaracterizes Merial. While it is true

 that in Merial the Federal Circuit affirmed the district court’s finding that the second prong of

 TiVo was met where no limitation-by-limitation analysis of the newly accused product to the

 claims was conducted, the Federal Circuit ultimately affirmed the finding because an

 infringement analysis was done by comparing the plaintiff’s commercial embodiment to the

 newly accused product on a limitation-by-limitation basis. Merial, 681 F.3d at 1301. Indeed, in

 Merial, although the Federal Circuit clarified that for purposes of contempt infringement can be

 found through a comparison of a commercial embodiment to the newly accused product, that

 approach was sanctioned where the district court specifically compared the products and found

 that the concentrations in the new product were “synergistically effective amounts as recited in

 the claims.” Merial, 681 F.3d at 1301 (emphasis added).

        Here, GGA did not conduct the infringement analysis sanctioned in Merial. GGA has

 not, nor does it claim to have, conducted an infringement analysis of its own commercial

 embodiment to the GroundSpan system. And, more importantly, GGA has made no effort to

 analyze the GroundSpan system in view of the claims of the ’706 Patent. Instead, GGA would

 like to extrapolate the holding in Merial to find that because the GroundRez system indisputably

 infringes, and GGA has compared the source code of the GroundRez system to the source code

 of the newly accused GroundSpan system, that it has proven the GroundSpan system infringes

 for purposes of contempt. Under GGA’s interpretation, a plaintiff would have to do no more

 than simply prove that there are no significant differences between the products to satisfy the

 infringement prong under TiVo.

        This Court is reluctant to collapse the two-prong test of TiVo as GGA would like.

 Particularly, the Court is disinclined to decide, on first impression, that res judicata can be



                                                5
Case 6:15-cv-00002-RWS-JDL Document 74 Filed 12/02/15 Page 6 of 6 PageID #: 697



 applied to satisfy the infringement prong of TiVo on the facts of this case because to do so would

 be to effectively have the first prong of TiVo swallow the second whole. GGA’s expert has not

 compared the GroundSpan system to the GroundRez system on a limitation-by-limitation basis.

 Admittedly, his analysis was to compare the source code of the products and show the code

 contains no significant differences. (Doc. No. 70, at 7-9.) While the Court finds that this analysis

 in conjunction with his testimony was sufficient to show that there are not more than colorable

 differences
     .       between the products, it is insufficient to prove infringement.

        The remaining arguments presented were either new arguments not presented in the

 original briefing, which the Court will not now consider, or those already properly considered by

 the Magistrate Judge. With the supplements contained herein, the Court adopts the Report and

 Recommendation of the United States Magistrate Judge as the findings of this Court. All

 objections are OVERRULED and the finding that Plaintiff GGA has not shown contempt is

 affirmed.

        SIGNED this 2nd day of December, 2015.




                                                           ____________________________________
                                                           ROBERT W. SCHROEDER III
                                                           UNITED STATES DISTRICT JUDGE




                                                  6
